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             EXHIBIT D
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                                U.S. Plaintiffs,       Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                U.S. Plaintiffs,       Case No. 1:20-cv-0715-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


           PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANT
        GOOGLE LLC’S [FOURTH] SET OF INTERROGATORIES TO PLAINTIFFS

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Local Rule 26.2(d) of the United

States District Court for the District of Columbia, and the Court’s Orders governing discovery,

Plaintiffs provide the following objections and responses to Defendant Google LLC’s (“Google”)

Fourth Set of Interrogatories to Plaintiffs.

                                      GENERAL OBJECTIONS

1.     Plaintiffs object to the Interrogatories to the extent that they attempt to impose any obligation

greater than those imposed or authorized by the Federal Rules of Civil Procedure, the Local Rules of

the United States District Court for the District of Columbia, or any other applicable rule or order.




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2.     Plaintiffs object to Definition #7 (“You”) as overly broad, unduly burdensome, not

proportional to the needs of the case, and inconsistent with the Court’s limitations on the number of

interrogatories to the extent Definition #7 purports to require separate responses from each of the

Plaintiffs listed in Definition #7. Plaintiffs will respond jointly to each Interrogatory (except for

Interrogatory 29 and 30) unless providing a full response requires otherwise.

3.     Plaintiffs object to Google’s use of impermissibly compound interrogatories that contain more

than one, and in some cases substantially more than one, subject matter. Plaintiffs object that these

interrogatories violate the numeric limitations set forth in the Court’s January 20, 2025 Order, ECF

No. 1144. The Court expressly limited Defendant to 30 interrogatory requests, but Defendant elected

to serve 68 requests including all subparts—more than twice the number authorized by the Court.

Even after exhausting the 30 interrogatories the Court allocated for this purpose, and the 15

interrogatories Google had remaining under the CMO, Google is still 23 interrogatories over its limit.

4.     Plaintiffs object to the Interrogatories to the extent they seek information protected by the

attorney-client, work product, deliberative process, common interest, or any other applicable

privilege.

5.     Plaintiffs object to the Interrogatories to the extent they seek a legal conclusion or

interpretation of a legal document.

6.     Plaintiffs object and respond to the Interrogatories without implying that the Interrogatories

are relevant or material to the subject matter of this action.

7.     Plaintiffs’ development of facts and circumstances relating to this action is ongoing. Plaintiffs

reserve the right to supplement, clarify, revise, or correct their objections and responses, and to assert

additional objections or privileges, in one or more supplemental responses.

8.     Plaintiffs expressly incorporate these objections to Google’s Definitions, Instructions, and




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Interrogatories into each response below. The failure to repeat any of these objections in a particular

response does not waive any objections applicable to that request.

9.     Plaintiffs further object because their initial proposed final judgment was submitted before

remedies discovery began. Since remedies discovery is ongoing, Plaintiffs may learn or obtain

additional factual information to further inform or revise its responses below.

10.    Plaintiffs also object to the extent they make revisions or changes to the initial Proposed Final

Judgment in connection with the submission of the final Proposed Final Judgment.

                                            DEFINITIONS

1.     “Including” means including but not limited to.

                        SPECIFIC OBJECTIONS AND RESPONSES
                               FROM ALL PLAINTIFFS

1.      Identify the name of each entity that today qualifies as a “Competitor” under the definition
set forth in Plaintiffs’ Proposed Final Judgment (III.H).

       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory to the extent it seeks information that may be more readily known to

Google, as it is in the business of providing General Search Engine and Search Text Ads services in

the United States.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Currently, the firms that today qualify as a “provider of” a General Search Engine or Search Text Ads

in the United States include Google, Microsoft, Yahoo!, DuckDuckGo, IAC/InterActiveCorp,

System1 LLC, Brave, and AOL. As established during the liability trial, due to Google’s

monopolization of the relevant markets, Google has a nearly 90% market share in the relevant

markets. Court’s Memorandum Opinion of August 5, 2024, ECF 1032, at 13-14, 66. Since the




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purpose of Plaintiffs’ proposed remedies is to restore competition to the monopolized markets,

Plaintiffs anticipate the definition of Competitor to include additional entities over the duration of the

remedy term. Although Plaintiffs cannot know at this time who may elect to enter the relevant

markets, the list of potential future entrants could include firms engaged in the development of

artificial intelligence, including OpenAI, Meta, Perplexity, and Anthropic, and companies involved in

the development of web browsers and mobile operating systems, including Apple and others, as well

as new entrants that Plaintiffs cannot predict at this time.

2.      Define what Plaintiffs’ Proposed Final Judgment means by those “application[s], service[s],
feature[s], tool[s], [and] functionalit[ies]” that “involve[] artificial intelligence capabilities” as used in
Plaintiffs’ definition of “AI Product” (III.B).
           RESPONSE:

           Plaintiffs incorporate their general objections as though set forth fully herein.

           Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs mean those terms in their general natural language definition, as used repeatedly in the

normal parlance of the tech industry. By its commonplace, natural meaning, the term AI Product

means applications, services, features, tools, or functionality that involves artificial intelligence

capabilities. Google has defined artificial intelligence as “a set of technologies that enable computers

to perform a variety of advanced functions, including the ability to see, understand, and translate

spoken and written language, analyze data, make recommendations, and more.” 1 If an application,

service, feature, tool, or functionality does not involve any artificial intelligence capabilities, then it is

not an AI Product.

3.      Define what Plaintiffs’ Proposed Final Judgment means by “web browser” as used in
Plaintiffs’ definition of “Google Browser” (III.L). When answering this interrogatory, state whether

1
    https://cloud.google.com/learn/what-is-artificial-intelligence




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or not “web browser” includes in-app browsing technologies such as Android System WebView and
Android Custom Tabs.
        RESPONSE:

        Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory to the extent it seeks information that is more readily known to Google, as

it is the developer and provider of Android System WebView and Android Custom Tabs.

        Subject to the general and specific objections set forth above, Plaintiffs respond as follows: A

“web browser,” as used in that definition, is any software application, on a mobile phone or

otherwise, that allows a user to access information across the web and navigate the web. Plaintiffs’

understanding is that Android System WebView and Android Custom Tabs, while allowing app

developers to display information from the web, do not allow the user to navigate the web. If so,

based on Plaintiffs’ current understanding, those would not be considered a “web browser” as used in

that definition.

4.      Identify the name of each product that today qualifies as a “General Search Engine” as that
phrase is used in Section III.O of Plaintiffs’ Proposed Final Judgment, including whether the
following qualify:
        a. AI chatbots, including the Google Gemini Assistant Application, ChatGPT, Copilot, and
            Perplexity;
        b. Vertical search services.
        RESPONSE:

        Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object that this Interrogatory is vague and ambiguous, in that the terms “AI chatbots” and “Vertical

search services” are not defined.

        Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Within the United States, the list of products that qualify as a General Search Engine includes




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Google, Microsoft, Yahoo!, DuckDuckGo, Ask.com, Info.com, Brave, and AOL. Plaintiffs

incorporate the answer to Interrogatory 1 here as well.

       AI chatbots are a broad category of software with widely varying capabilities. To the extent

Google intends the term “AI chatbot” to encompass software that is intended to have textual or

spoken conversations with the user, they would not currently be within the definition of a General

Search Engine. To be clear, these types of chatbots could have derived or summarized information

from a General Search Engine to formulate their answers to users or may refer or link users to a

General Search Engine.

       To the extent Google intends for “vertical search services” to encompass “Specialized Vertical

Providers,” as used in the Court’s Memorandum Opinion of August 5, 2024, ECF 1032, at 50-55,

those providers would not qualify as a General Search Engine within the meaning used in the

Proposed Final Judgment.

5.      State whether any prohibition or requirement in Sections IV, V, VI, VII, VIII, IX, or X of
Plaintiffs’ Proposed Final Judgment applies outside the United States (including but not limited to
devices sold outside the United States), and, if so, specify which prohibition(s) or requirement(s) and
the geographic scope of the prohibition or requirement.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

None of the prohibitions in Sections IV-X would directly apply outside the United States, other than

any divestiture provisions of Sections V.A or V.B, prohibited investments in Section IV.F, and the

anti-circumvention provisions throughout the Proposed Final Judgment.

6.     Explain with specificity how “marginal cost” is to be determined with regards to each
provision in Plaintiffs’ Proposed Final Judgment in which that term is used.
       RESPONSE:




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       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as calling for information that may be more readily within Google’s

control and knowledge.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

The term “marginal cost,” which is used three times within the Plaintiffs’ Proposed Final Judgment

(VI.A, VII.A, and VII.B), means the ordinary course definition of “marginal cost,” which is the direct

total production cost of producing an additional unit of a good or service, and here would be

determined by calculating the change in direct total production cost resulting from Google from

providing the additional unit(s) of services, i.e. by (i) providing ongoing access to its Search Index; or

(ii) serving a response to each additional user query via the syndication service as licensed.

7.      Specify whether any of the below conduct would violate any provision of Plaintiffs’ Proposed
Final Judgment and if so, identify the particular provision(s):
        a. Google conditioning a free license to a third party in return for preinstallation of Google
           Search, Google Chrome, or Google Gemini Assistant Application on a device (a) in a
           place to be determined by the third party, or (b) in a place designated by Google;
        b. Google offering or providing something of value to a third party in return for Google
           Search, Google Chrome or Google Gemini Assistant Application being preloaded on a
           device (a) in a place to be determined by the third party, or (b) in a place designated by
           Google.
        c. Google offering or providing something of value to a third party to be a non-default search
           option in a browser or other search access point (for instance, in Mozilla’s “this time
           search with” function, or Safari’s search engine choice menu or bookmarks);
        d. Google offering or providing something of value to a third party to participate in a choice
           screen in a browser or device;
        e. Google entering the Mobile Services Incentive Agreements with AT&T and T- Mobile, the
           Mobile Framework Service Agreement with Verizon, or a “Go to Market” Agreement with
           a third party that is based solely on the level of Android activations achieved through a
           third party’s Android device sales;
        f. Google entering into a marketing agreement with a third party to promote and/or sell any
           type of Android device, including Google Pixel devices;
        g. Google purchasing advertising or other promotion in an app store that encourage
           downloads of the Google Search App, Google Chrome, or Google Gemini Assistant
           Application; or




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       h. Google offering or providing something of value to an original equipment manufacturer
          (OEM) to place a search-provider agnostic, user-configurable search widget on an
          Android device.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing eight separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what the Court authorized. Furthermore, Plaintiffs object to these Interrogatories as

providing incomplete hypothetical scenarios that cannot be fully evaluated under the Proposed Final

Judgment. Plaintiffs state that each of the proposed hypotheticals are fact dependent and any response

could change based on unknown fact and circumstances.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Based on the information as presented, and without knowing more, Plaintiffs believe that

hypotheticals (a), (b), and (h) would be prohibited by the Proposed Final Judgment under Section

IV.A. Based on the information as presented, and without knowing more, Plaintiffs believe that

hypotheticals (c), (d), and (g) would be prohibited by a combination of Section IV.B or IX.A. Based

on the information as presented, and without knowing more, Plaintiffs believe that hypotheticals (e)

and (f) may not violate the Proposed Final Judgment, as long as any payments or other value

provided are not “related to a GSE or Search Access Point.”

8.      With respect to Section IV.A and IV.B, state the process and standards under which Google
should assess whether something of value would “create an economic disincentive to compete in or
enter the GSE or Search Text Ad market(s)” or “an economic disincentive for Apple to compete in or
enter the GSE or Search Text Ad markets.” Your answer should provide sufficient information to
address, at a minimum, the following:
        a. What economic or other test should be used to determine whether this section is met;
        b. What information from actual or potential competitors should be used to determine
            whether such standard is met, and how will Google gain access to such information;




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       c. What level of preparedness to enter the Search or Search Text Ads markets is
          contemplated of “third parties” or Apple that could experience an “economic disincentive
          to compete in or enter the GSE or Search Text Ads markets”; and
       d. Is there a “materiality” or other threshold for whether a payment creates an economic
          disincentive.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing at least four separate

Interrogatories into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and

far beyond the scope of what the Court authorized.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

The phrase “create an economic disincentive to compete in or enter the GSE or Search Text Ad

market” in Section IV.A is intended to modify the term “other commercial terms,” not “something of

value.” Thus, to be clear, Sections IV.A prohibits all monetary payments to or the exchange of

anything of value with third parties for the enumerated acts in (1)-(3), and Section IV.B prohibits all

monetary payments to or the exchange of anything of value with Apple for any purpose. The term

“other commercial terms” in Section IV.A is intended to capture situations where Google, through its

various commercial dealings with other parties, uses commercial terms (other than money or

“something of value”) to influence their decision to engage in the enumerated acts in (1)-(3). The

term “any commercial terms” in Section IV.B is of a similar nature.

9.      Specify whether any of the below conduct would violate any provision of Plaintiffs’ Proposed
Final Judgment and if so, identify the particular provision(s):
        a. Providing a link to Google Search or Google Search functionality in any other Google
           product (e.g. Google Docs, Gmail, YouTube, Photos, Maps);
        b. Providing a link to the Google Gemini Assistant Application or Google Gemini
           functionality in any other Google product (e.g. Google Docs, Gmail, YouTube, Photos,
           Maps); or
        c. Distributing the Google Search Application, the Google Assistant Application, and the
           Google Gemini Assistant Application through a single Application Programming Kit



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           (APK) as long as the licensee has the option to disable end-user access to any of those
           applications and services that the licensee declines to license.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing three separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what the Court authorized. Furthermore, Plaintiffs object to these Interrogatories as

providing incomplete hypothetical scenarios that cannot be fully evaluated under the Proposed Final

Judgment. Plaintiffs state that each of the proposed hypotheticals are fact dependent and any response

could change based on unknown facts and circumstances.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Based on the information as presented, and without knowing more, Plaintiffs believe that

hypotheticals (a) and (b) would be prohibited by the Proposed Final Judgment under Section V.C.

Based on the information as presented, and without knowing more, Plaintiffs cannot evaluate whether

hypothetical (c) would violate the Proposed Final Judgment without knowing more about how the

license is structured—for example, whether the licensee can pay for one of the products listed without

paying for the other products, despite the products being bundled in a single APK.



10.     With respect to Section IV.E, specify what “similar factor[s]” are included in the prohibition
on “anything of variable value that is determined or calculated based on the usage of, revenue
generated by—or any similar factor for—any particular GSE.” Your answer should specify whether
any of the below conduct would violate this provision or any other provision of Plaintiffs’ Proposed
Final Judgment, and if so, identify the particular provision(s):
        a. Google offering or providing a fixed bounty payment to a partner for each device the
            partner sells irrespective of the number of search queries entered on Google Search on the
            device;




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       b. Google offering or providing a variable payment based on the usage of the partner’s
          product (e.g., based on the number of users of a particular browser, not the usage of
          particular GSE); or
       c. Google entering the Mobile Services Incentive Agreements with AT&T and T- Mobile, the
          Mobile Framework Service Agreement with Verizon, or offering a “Go to Market”
          agreement that is based solely on the level of Android activations.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing three separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what the Court authorized. Furthermore, Plaintiffs object to these Interrogatories as

providing incomplete hypothetical scenarios that cannot be fully evaluated under the Proposed Final

Judgment. Plaintiffs state that each of the proposed hypotheticals are fact dependent and any response

could change based on unknown facts and circumstances.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Based on the information as presented, and without knowing more, Plaintiffs believe that

hypotheticals (a), (b), and (c) may not be prohibited by the Proposed Final Judgment. To be clear,

however, Plaintiffs are assuming that none of the payments outlined in the hypotheticals are

conditioned, directly or indirectly, on either search usage or the pre-installation or placement of

Google search or are otherwise being used to circumvent any provision of the PFJ.

11.    With respect to Section IV.F, address the following:
       a. Define what an “interest” means for purposes of Section IV.F and how an “interest” would
          differ from an “investment” or “holding” in an entity;
       b. Identify the name of each entity that today qualifies as a company that controls a Search
          Access Point or an AI Product as those terms are defined in Plaintiffs’ Proposed Final
          Judgment;
       c. Identify each technology that today is a potential entrant in the GSE or Search Text Ads
          market;




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       d. Identify each technology that today is a reasonably anticipated competitive threat to GSEs;
          and
       e. Identify whether the provision applies to any investment, holding or interest that is wholly
          owned by Google.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing at least five separate

Interrogatories into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and

far beyond the scope of what the Court authorized.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

With respect to subpart (a), an “interest” means a financial interest of any kind, which could overlap

with “investments” or “holdings” but is also a broader term that encompasses other types of non-

equity financial interests, like loan or insurance contracts, joint ventures, or profit-sharing

arrangements. With respect to subpart (b), there are many companies that have developed AI

technology, rendering it impossible for Plaintiffs to give a comprehensive list. The Court’s liability

opinion found that Google has for over a decade monopolized, and continues to monopolize, the

relevant markets in this matter. As a result, Plaintiffs have proposed remedies intended to restore

competition to these monopolized markets, lower entry barriers, and encourage entry. While there is

little competitive threat to Google’s search and search text ads dominance today, Plaintiffs’ proposed

remedies are intended to change that fact. Plaintiffs cannot know or define today where the

competition from tomorrow will come from. However, in response to subpart (c), potential entrants

into GSE or Search Text Ads markets include producers of AI Products and mobile operating

systems. With respect to subpart (d), while AI Products are not meaningful competitive constraints on

Google search or search text ads today, various AI Products either in production or available today

could become GSE competitors or control Search Access Points in the future. In response to subpart



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(e), Plaintiffs do not believe that wholly-owned or subsidiary companies would be included within

the scope of Section IV.F, however those companies would be subject to the other portions of the

decree that govern Google’s behavior.

12.     With respect to Section V.A., state whether and how the proposed Chrome divestiture
obligation applies to: (i) ChromiumOS; (ii) ChromeOS; (iii) assets used for Chrome features that are
also used by other Google products in addition to Chrome (for example, Google Translate, Google
Password Manager, Google Account); and (iv) Google personnel essential to maintaining the quality
of Chrome.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing four separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what the Court authorized.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs do not believe that the Chrome divestiture in Section V.A would necessarily apply to

ChromiumOS or ChromeOS, but Plaintiffs require additional information from remedies discovery in

order to provide a complete response. For assets shared between Chrome and other Google products,

Plaintiffs do not believe that those assets would necessarily need to be fully divested—however,

some form of a transitional services contract may be necessary for the buyer to maintain the proper

functioning of Chrome during a transitional period. For Google personnel that are essential to

maintaining the quality of Chrome, Plaintiffs believe that the divestiture would apply to those

employees, within the bounds of what is typical for a full asset divestiture in any other scenario.



13.    With respect to Section V.B, state the circumstances that would render compliance with or
enforcement of the Plaintiffs’ Proposed Final Judgment “unadministrable” or “ineffective” and what
standards or criteria the Court would apply to determine whether or not to order the divestiture of
Android.



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       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs object

to this Interrogatory on the ground that it calls for a legal, not factual, conclusion—the legal standards

utilized by Plaintiffs and the Court to evaluate a potential future violation of a Final Judgment.

Subject to the general and specific objections set forth above, Plaintiffs respond as follows: Plaintiffs

do not, and cannot, dictate the standards that the Court would apply in enforcing Section V.B of the

Proposed Final Judgment. In the interest of completeness, Plaintiffs believe that the Court should

apply this provision if—after a thorough factual examination of competitive conditions at the time as

well as Google’s conduct relevant to the imposed remedies—the Final Judgment ultimately entered

by the Court does not remove the barriers to competition in the GSE or Search Text Ads markets.

This could prove to be the case either for administrability reasons (for example, it is too burdensome

on the Plaintiffs, Defendant, the Court and/or the Technical Committee to oversee the various

remedies) or for effectiveness reasons (for example, regardless of the other remedies in place,

Google’s continued ownership of Android continues to erect barriers to entry in the relevant

markets).

14.     With respect to Sections V. B. and V.C, state whether and how the proposed Android
divestiture obligation applies to: (i) WearOS, (ii) AndroidXR, (iii) AndroidAuto, (iv) AndroidTV, (v)
ChromeOS; and if it does not, whether and how Google would be able to continue to offer these
products. Your answer must state whether devices implementing these platforms are “Device[s]” as
used in Plaintiffs’ definitions (III.I).
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing five separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what the Court authorized.




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          Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

For clarity, the “Android divestiture option” is discussed in Section V.B of the Proposed Final

Judgment, not Section V.C. Plaintiffs do not believe the Android divestiture option would apply to

any of the products identified in this Interrogatory. Plaintiffs believe Google could continue to offer

those products but take no position on “how Google would be able to continue to offer these

products,” whether it be through a license to Android from the new owner or through some other

means. Plaintiffs believe that devices offering the products enumerated in this Interrogatory would, to

the extent the user could access general search functionality, be “Devices” within the meaning of

III.I.

15.     Identify with specificity any conduct that you claim Google has engaged in or is engaging in
today that is prohibited by the provisions of Section V.C, including identifying each “Google-owned
or operated asset” implicated and all actions prohibited by Google with respect to each “asset.”
          RESPONSE:

          Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and irrelevant, as Plaintiffs have not taken full discovery on

all actions Google has or is taking with respect to all its products. Thus, this Interrogatory is unduly

burdensome on Plaintiffs, asking us to have comprehensive knowledge of all of Google’s past and

present actions and then applying them to our Proposed Final Judgment.

          Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Based on our current knowledge, Plaintiffs believe the current Google actions that violate Section

V.C of the Proposed Final Judgment include:

             •   Self-preferencing of the Google GSE on user-downloaded Chrome

             •   Agreements to preinstall Google apps on Android phones

             •   Agreements to preset default of Google apps on Android phones




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           •     Gemini interoperability with only Google GSE, Android, and Chrome



16.    State whether any of the following conduct is prohibited by the provisions of Section V.C:
       a. Whether Google may use Google Search for grounding in its own AI products;
       b. Whether Google may have Gemini interoperate with a Google product or service
           (including without limitation Gmail or Google Docs), without offering a non-Google AI
           Product functionality to interoperate with that same Google product or service;
       c. Whether Google is required to offer equivalent functionality on SA360 and other Google
           Ads products to Microsoft Ads and other Search Text Ads rivals;
       d. Whether any feature or application available today on Google Pixel devices violates this
           section, and if so, which; and
       e. Whether Google may have Google Search interoperate with a Google product or service
           (including without limitation Gmail or Google Docs), without offering a non-Google GSE
           functionality to interoperate with that same Google product or service.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing five separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what was envisioned by the Court in authorizing these Interrogatories. Furthermore,

Plaintiffs object to these Interrogatories as providing incomplete hypothetical scenarios that cannot be

fully evaluated under the Proposed Final Judgment. Plaintiffs state that each of the proposed

hypotheticals are fact dependent and any response could change based on unknown facts and

circumstances.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Based on the information as presented, and without knowing more, Plaintiffs believe that

hypotheticals (a), (b), and (e) may all be prohibited by the Proposed Final Judgment under Section

V.C. With respect to subpart (c), the initial Proposed Final Judgment prohibits Google from using

SA360 to preference Google’s GSE or Google’s Search Text Ads. To the extent SA360’s future




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functionality preferences Google’s GSE or its own Search Text Ads, such functionality is prohibited

by Section V.C of the initial Proposed Final Judgment With respect to subpart (d), Plaintiffs cannot

provide an exhaustive list because discovery has not been conducted on all features and applications

available on the Pixel. However, the preinstallation and placement on the Pixel of the Google Search

App, search widget, Gemini, and Chrome would be prohibited under Section V.C.

17.     With respect to Section V.C, identify the standards Plaintiffs and the Technical Committee
will apply to determine whether:
        a. Google has “undermine[d], frustrate[d], interfere[d] with, or in any way lessen[ed] the
            ability of a user to discover a rival GSE or of an advertiser to discover or shift its Search
            Text Ad spending to a rival Search Text Ads provider”;
        b. Google has “limit[ed] the competitive capabilities of a rival GSE or rival Search Text Ads
            provider; or otherwise impede[d] user discovery of products or services that are
            competitive threats in the GSE or Search Text Ads markets”; and
        c. Google has “preference[d] Google’s GSE, Search Text Ads, or AI Products” or
            “provide[d] itself with preferential access to Android or Google-owned apps or data as
            compared to the access it provides to all other GSEs and AI Products,” and identify with
            specificity any conduct that is prohibited by the foregoing provisions.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs object

to this Interrogatory on the ground that it calls for a legal, not factual, conclusion—the legal standards

utilized by Plaintiffs to evaluate a potential future violation of a Final Judgment. Plaintiffs further

object to this Interrogatory on the ground that it confuses the role of the Court—which determines

and applies legal standards—with the role of Plaintiffs, who have discretion to bring conduct that

may violate the initial Proposed Final Judgment to the Court’s attention. Plaintiffs further object to

this Interrogatory to the extent it suggests that the Technical Committee would be an independent

adjudicatory body. Rather, the Technical Committee may make recommendations to Plaintiffs and

the Court, for the Court’s adjudication. Plaintiffs further object to this Interrogatory as overbroad and

compound, encompassing three separate Interrogatories into a single inquiry. Thus, this Interrogatory




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is unduly burdensome on Plaintiffs, and far beyond the scope of what the Court in authorized. At

minimum, this Interrogatory calls for an answer to a question so hypothetical and missing factual

bases as to not be answerable.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs cannot answer what standards another body, like a future to-be-created Technical

Committee, would use to evaluate whether Google had violated any portion of the Court’s ultimate

Final Judgment. The Technical Committee will investigate the matter and provide its findings to

Plaintiffs. Plaintiffs will then apply the text of Section V.C to those facts and findings, within the

context of governing law. Plaintiffs proposed final judgement includes a technical committee which

has been demonstrated to “clearly strengthen[]” a decree. Massachusetts v. Microsoft, 373 F.3d

1199,1244 (D.C. Cir. 2004). The “technical competence” of the proposed Technical Committee can

ensure effective enforcement and “facilitate the resolution of potentially complex and technologically

nuanced disputes between [the defendant] and others.” Id. Indeed, following implementation of the

remedy in Microsoft, the district court praised the technical committee as a “lynchpin in the

successful effort,” which proved “far more effective than the use of a special master.” Tr. 29-30,

United States v. Microsoft Corp., No. 98-1232 (CKK) (Apr. 27, 2011), ECF No. 930.

18.    State what Plaintiffs’ Proposed Final Judgment means by its prohibition in Section V.C on
Google “us[ing] its ownership and control of Android, or any other Google product or service, to
make any Google GSE, Search Text Ads, or AI Product (including on- device AI) mandatory on
Android Devices,” in particular specifying what Google may or may not do with respect to
preloading and utilizing Google AI (including Gemini products) on Pixel phones and with respect to
incorporating Google AI functionality into Google applications (including Gmail, Maps, and on-
device search), and specifying what Google would be required to do with respect to other AI products
from Competitors, including:
       a. Whether the Google Gemini Assistant Application violates Plaintiffs’ Proposed Final
           Judgment to the extent it contains a mechanism to permit a user to conduct follow-on
           queries via Google Search but has no similar mechanism for, e.g., Bing search;




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       b. Whether Gemini API and Google AI Studio violate Plaintiffs’ Proposed Final Judgment to
          the extent they permit grounding with Google Search but not grounding with, e.g., Bing
          search;
       c. Whether Gmail violates Plaintiffs’ Proposed Final Judgment to the extent it includes an
          email-drafting tool that relies on Gemini but contains no similar functionality powered by,
          e.g., an OpenAI model;
       d. Whether the Google Gemini Assistant Application violates Plaintiffs’ Proposed Final
          Judgment to the extent it is powered by Google’s Gemini models with no mechanism to
          cause the application to rely on, e.g., OpenAI’s models.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing five separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what was envisioned by the Court in authorizing these Interrogatories. Furthermore,

Plaintiffs object to these Interrogatories as providing incomplete hypothetical scenarios that cannot be

fully evaluated under the Proposed Final Judgment. Plaintiffs state that each of the proposed

hypotheticals are fact dependent and any response could change based on unknown facts and

circumstances.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

The quoted language from Section V.C of Plaintiffs’ Proposed Final Judgment is intended to

highlight the fact that, if adopted, Google would still control Android, and by extension the

Compatibility Test Suite and Compatibility Definition Document. Therefore, this section is intended

to apply to situations where Google, through its control over Android compatibility, would either

implicitly or explicitly coerce Android distributors to use Google Search, Google Search Text Ads, or

a Google AI product, by failing to certify devices as compatible if they utilized a Google competitor

or slowing down the certification process so as to practicably fail to certify those devices.




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       With respect to “what Google may or may not do with respect to preloading and utilizing

Google AI (including Gemini products) on Pixel phones,” the current Proposed Final Judgment

would prevent Google from preloading the Gemini app (or other Google AI apps) on Pixel phones.

With respect to subparts (a)-(d), based on the information as presented, and without knowing more,

Plaintiffs believe that all would violate the Proposed Final Judgment.

19.    With respect to Sections VI and VII, specify the criteria that will determine whether a
Qualified Competitor is “enabled to . . . understand Google’s ranking rationale, and how Google
modified or refined the user’s query.”
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object that fact discovery is still ongoing, which could inform the criteria that would be used in

response to this Interrogatory.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

For the sake of clarity, the quoted language in this Interrogatory appears only in Section VII, not VI,

and applies to the syndication license envisioned by Section VII.A. Plaintiffs cannot, ex ante,

determine the criteria (if any beyond those already specified in the Proposed Final Judgment) that

would guide our evaluation of whether the syndication license provided the licensee with the

information that would allow it to “understand Google’s ranking rationale, and how Google modified

or refined the user’s query.” Such an evaluation is highly fact-specific and Plaintiffs would evaluate

both subjective and objective evidence. As laid out in Section VII.D, complaints regarding

compliance with VII.A would first be raised with the Technical Committee—a body of experts that

could more appropriately, at the time, evaluate whether the complaint had merit.




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20.     State whether the provision in Section VI.A.4 (“Nothing in this Section VI purports to transfer
intellectual property rights of third parties to index users.”) modifies Google’s obligations under
Plaintiffs’ Proposed Final Judgment, including specifying whether the data Google would be required
to provide to Qualified Competitors includes content that Google licenses from third parties.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Section V.A.4 does not modify Google’s obligations under the Proposed Final Judgment. As made

clear in Sections V.A.1, the Search Index that Google must make available to Qualified Competitors

must be one that is “equally available” to Google. Therefore, to the extent Google licenses data that it

includes in its Search Index, it must provide that data to Qualified Competitors. If the license does not

allow for such a provision (and Google cannot renegotiate the license to allow it), then Google must

not use that data in its Search Index.

21.     With respect to Sections VI.C and VI.E, specify the criteria that will determine whether the
“security and privacy safeguards” are sufficient to provide Qualified Competitors access to User-Side
Data and Ads Data, and whether such privacy and security safeguards must be at least equal to those
provided by Google.


       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object that fact discovery is still ongoing, which could inform the criteria that would be used in

response to this Interrogatory.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs cannot, ex ante, determine the criteria (if any beyond those already specified in the

Proposed Final Judgment) to evaluate the sufficiency of security and privacy safeguards for a remedy

that has not yet been imposed. The Proposed Final Judgment envisions that Plaintiffs will work

closely with the Technical Committee to evaluate the circumstances to determine when those



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safeguards are sufficient. Parity with Google’s own privacy and security safeguards, as well as

compliance with other relevant industry standards, would be a significant factor that Plaintiffs would

consider in discharging its obligations under Sections VI.C and VI.E.

22.    With respect to VII.A.1.(b), identify the criteria that will determine the “scope of allowable
syndication.”
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object that fact discovery is still ongoing, which could inform the criteria that would be used in

response to this Interrogatory.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs cannot, ex ante, determine the criteria (if any beyond those already specified in the

Proposed Final Judgment) that would determine the “scope of allowable syndication.” However, it is

Plaintiffs’ goal to allow the minimum amount of syndication necessary to restore competition in the

relevant markets—not further entrench Google’s monopoly in search through extensive syndication

agreements. Furthermore, as is explicit in Section VII.A.1.(b), the scope is expected to change over

time, as syndication may no longer be needed by licensees at a later date. Plaintiffs expect to consult

with the Technical Committee to determine a reasonable scope of allowable syndication, given the

state of the market and capabilities of Google’s competitors. As explicit within this section, Plaintiffs

expect that the allowable syndication would taper to zero at the end of the 10-year period (and

perhaps sooner).



23.    With respect to VI.D, identify the criteria that will determine “[t]he maximum number of
allowable synthetic queries.”
       RESPONSE:




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       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object that fact discovery is still ongoing, which could inform the criteria that would be used in

response to this Interrogatory.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs cannot, ex ante, determine the criteria (if any beyond those already specified in the

Proposed Final Judgment) that would determine the “maximum number of allowable synthetic

queries.” Furthermore, as is implicit in Section VI.D, that number might change over time (for

example, the number of allowed synthetic queries going down as Qualified Competitors no longer

need the data). Plaintiffs expect to consult with the Technical Committee to determine a reasonable

number of allowable synthetic queries, given the state of the market and capabilities of Google’s

competitors. Among other factors, Plaintiffs will consider the maximum allowable queries ultimately

agreed between Google and Yahoo Japan as an appropriate number to be allowed by Section 2.7 of

Google’s agreement with Yahoo Japan, as well as the relative size of the United States market, as

compared to Japan.

24.     With respect to Sections VII.A & VII.B, identify the standards that Google would be required
to use in determining whether “steps” Google “take[s] to protect its brand, its reputation, and
security” are “reasonable,” including but not limited to whether there is any standard the satisfaction
of which would allow Google to place “conditions on how any licensee may use syndicated content.”


       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs cannot, ex ante, identify a set of standards (if any beyond those already specified in the

Proposed Final Judgment) that can be applied across all circumstances after the Proposed Final




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Judgment is imposed. The evaluation of what is “reasonable” under the circumstances is highly fact-

specific, and would include, at a minimum: the scope of actions taken by Google; the relatedness of

Google’s actions to its brand, reputation, and/or security; and whether Google has taken similar steps

in other similar circumstances. Plaintiffs do not believe that the “steps” envisioned by Sections VII.A

and VII.B include Google placing “conditions on how any licensee may use syndicated content.”

25.    With respect to Section VIII.A, identify “any other metric necessary for the advertiser to
evaluate its ad performance” and whether Google can charge advertisers for providing the data
described in this section.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs cannot identify all metrics that may be available or kept by Google that are necessary for

the advertiser to evaluate the performance of its ads. Plaintiffs expect that advertisers would make

those metrics known to Google in the regular course and request that data from Google, if it is kept.

However, at minimum, the metrics would include all conversion or attribution information, as well as

the other metrics identified in VIII.A. Furthermore, as made clear by Section VIII.E, it is the

Technical Committee that would, in the first instance, be able to evaluate whether Google has

complied with the rest of Section VIII. It is Plaintiffs’ position that Google could not charge for the

data called for by Section VIII.A beyond what Google currently charges for ads and related data.

26.     With respect to Section VIII.C, identify the “data or information relating to their entire
portfolio of ads or advertising campaigns bid on, placed through, or purchased through Google” that
is encompassed by this provision, including whether it encompasses data from ad formats that are not
Search Text Ads.
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein.




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       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

Plaintiffs do intend that Section VIII.C would apply to ads that are not Search Text Ads, including an

advertiser’s entire portfolio of ads with Google. Furthermore, it is impossible for Plaintiffs to identify

all “data or information relating to their entire portfolio of ads or advertising campaigns bid on,

placed through, or purchased through Google,” especially as ad formats and metrics evolve over time.

However, at minimum, the data would include all data identified in VIII.A and all data maintained in

Google’s Ads Data Hub or similar products. To the extent ads data for specific ads or advertisers is

logged, maintained, collected, or used by Google, Section VIII.C would prevent Google from limiting

that export to the advertiser or entity placing the ads.

27.    With respect to Section VIII.D, describe:
       a. What constitutes a “change[] made” to Google’s Search Text Ads auction (e.g., would a
          bug fix, or an experiment conducted on some but not all Search Text Ads auctions
          constitute a “change[] made”);
       b. What criteria will be used to determine whether “public disclosure is necessary”; and
       c. How Plaintiffs will determine whether a disclosure of a change made to Google’s Search
          Text Ads auction is “inadequate.”
       RESPONSE:

       Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing three separate Interrogatories

into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what was envisioned by the Court in authorizing these Interrogatories. Furthermore,

Plaintiffs object to these Interrogatories as providing incomplete hypothetical scenarios that cannot be

fully evaluated under the Proposed Final Judgment. Plaintiffs state that each of the proposed

hypotheticals are fact dependent and any response could change based on unknown fact and

circumstances.




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        Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

As to subpart (a), Section VIII.D is intended to capture all auction-related “launches,” as described in

Jerry Dishler’s trial testimony, including Mr. Dischler’s testimony that auction tunings and the use of

pricing knobs constitute “launches.” Tr. 1205:19–1207:19 (Dischler (Google)). However, and

relevant to subpart (b), Plaintiffs believe that, to the extent any bug fixes or experiments constitute a

launch, the launch’s scope would be relevant to the inquiry on whether public disclosure is necessary.

As to subpart (c), each inquiry is hypothetical and would require a highly fact specific evaluation at

the time to determine whether the notice given was adequate (or required at all). However, as a

general matter, Plaintiffs believe that material changes to the Search Text Ads auction should be

made public to advertisers so that they can make more informed choices, and that a launch would

likely be material if it implemented a change that an advertiser of reasonable sophistication would

consider in optimizing, analyzing, or allocating its search advertising optimization, spend, or bidding

strategies.

28.     With respect to Section IX.A, list all actions Google must affirmatively take to “offer the
Distributor the option to display a Choice Screen” for “every Google Search Access Point that was
preinstalled under a distribution agreement before the date of entry of this Final Judgment.” Your
answer must, at a minimum:
        a. List all current “Google Search Access Point[s]” for which this provision would apply;
        b. State whether Google must design (and pay engineering costs) of the choice screen and
            state how disputes between the Distributor and Google over design, engineering, and
            resources would be resolved;
        c. State whether Google or the applicable Distributor would determine which services must
            appear in the choice screen and on what terms.
        RESPONSE:

        Plaintiffs incorporate their general objections as though set forth fully herein. Plaintiffs further

object to this Interrogatory as overbroad and compound, encompassing three separate Interrogatories




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into a single inquiry. Thus, this Interrogatory is unduly burdensome on Plaintiffs, and far beyond the

scope of what was envisioned by the Court in authorizing these Interrogatories.

       Subject to the general and specific objections set forth above, Plaintiffs respond as follows:

With respect to subpart (a), the “Google Search Access Point[s]” include the Google Search App,

Google Search Widget, and the Chrome browser. With respect to subpart (b), the choice screen must

be approved by Plaintiffs to ensure that its design is not biased to favor Google. Google, as the party

bound by the Final Judgment, is responsible for ensuring that the Final Judgment is implemented and

shall bear all costs associated with that implementation. With respect to subpart (c), the Distributor

would ultimately decide what services appear on the applicable choice screen.

                        SPECIFIC OBJECTIONS AND RESPONSES
                         FROM COLORADO PLAINTIFF STATES


29. With respect to Section IX.F, specify in dollar amounts what are “reasonable, short-term incentive
    payments to users who voluntarily choose a non-Google default GSE on a Choice Screen” and
    whether such payments would be made available to users outside the United States.
       RESPONSE:

       Colorado Plaintiff States incorporate their general objections as though set forth fully herein.

       Subject to the general objections set forth above, Colorado Plaintiff States respond as follows:

Section IX.F of the Proposed Final Judgment states that Google will fund a nationwide advertising

and education program. The purpose of that program is to inform users of the outcome of this

litigation and the remedies in the Final Judgment, lower entry barriers created by Google’s brand

recognition, and increase the effectiveness of other remedies. That program may also require Google

to fund reasonable, short-term incentive payments to users in the United States. As with all aspects of

the program, Colorado Plaintiff States expect to work with the Technical Committee to determine an

appropriate approach and amount for incentives sufficient, in combination with the other remedies, to



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address Google’s artificially enhanced brand recognition. That may include direct payments to

consumers, which Colorado Plaintiff States anticipate would be relatively small sums for a relatively

short time period.




30.     With respect to Section IX.F, specify the “predicted outcomes, retrospective analyses, and
testing” that the State AGs will use to evaluate the Public Education Fund’s “expenditures.”


        RESPONSE:

        Colorado Plaintiff States incorporate their general objections as though set forth fully herein.

        Subject to the general objections set forth above, Colorado Plaintiff States respond as follows:

Section IX.F of the Proposed Final Judgment states that Google will fund a nationwide advertising

and education program. The purpose of that program is to inform users of the outcome of this

litigation and the remedies in the Final Judgment, lower entry barriers created by Google’s brand

recognition, and increase the effectiveness of other remedies. That program may also require Google

to fund reasonable, short-term incentive payments to users who voluntarily choose a non-Google

default on a choice screen.

        The Proposed Final Judgment authorizes the Technical Committee, in consultation with

Colorado Plaintiff States, to conduct experiments regarding the design, implementation, and

expenditures of this program. Among other factors, Colorado Plaintiff States may consider the

expenditures of other nationwide public education campaigns, including those implemented as a

result of litigation or a litigation settlement.




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Dated: February 18, 2025          Respectfully submitted,

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